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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. CR13-197-RSL

10          v.                                           DETENTION ORDER

11 KAJUAN MARTIN RINGO,

12                                Defendant.

13 Offense charged:

14          Conspiracy to Distribute Oxycodone.

15 Date of Detention Hearing: July 23, 2013.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          Defendant is charged with a crime that carries a presumption of detention and has failed

23 to overcome that presumption. The government proffered that when defendant was arrested he



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 1 had a firearm in his vehicle and a large amount of cash. Defendant has a felony conviction and is

 2 on active supervision. Despite this, he allegedly committed a serious drug trafficking offense

 3 that spanned several states and allegedly possessed a gun. Given the government’s proffer, the

 4 Court finds no conditions of release would ensure the safety of the community.

 5          It is therefore ORDERED:

 6          (1)    Defendant shall be detained pending trial and committed to the custody of the

 7 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 8 from persons awaiting or serving sentences, or being held in custody pending appeal;

 9          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

10 counsel;

11          (3)    On order of a court of the United States or on request of an attorney for the

12 Government, the person in charge of the correctional facility in which Defendant is confined

13 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

14 connection with a court proceeding; and

15          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

16 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

17 Officer.

18          DATED this 23rd day of July, 2013.

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20                                                        A
                                                          BRIAN A. TSUCHIDA
21                                                        United States Magistrate Judge

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